                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )
                                           )
v.                                         )         No. 3:08-MJ-2096
                                           )         (GUYTON)
CYRIL TRAVIS BISHOP                        )
                                           )
                   Defendant               )



                   ORDER OF DETENTION PENDING TRIAL


             The above-named defendant appeared in custody before the

undersigned on December 22, 2008, for a scheduled detention hearing. United

States Attorney Cynthia F. Davidson was present for the government and Leslie

M. Jeffress was present on behalf of the defendant. Counsel for the defendant

advised this Court that the defendant would waive a detention hearing at this time

and reserve his right to move for a hearing at a later date. The defendant executed

the appropriate waiver in open court.

             Accordingly, the defendant is committed to the custody of the

Attorney General or his/her designated representative for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal. The defendant shall be



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afforded a reasonable opportunity for private consultation with defense counsel.

On order of a court of the United States or on request of an attorney for the

government, the person in charge of the corrections facility shall deliver the

defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.



             IT IS SO ORDERED.


                                       s/ Bruce Guyton
                                       UNITED STATES MAGISTRATE JUDGE




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